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    EXHIBIT 3
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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

 --------------------------------------------------------- x
 SPARTA INSURANCE COMPANY                                  :
 (as successor in interest to Sparta Insurance
 Holdings, Inc.),                                          :

                           Plaintiff,                     :    Civil Action
                                                               No. 1:21-cv-11205-FDS
        v.                                                :

 PENNSYLVANIA GENERAL INSURANCE                           :
 COMPANY (now known as Pennsylvania
 Insurance Company),                                      :

                            Defendant.                     :
 --------------------------------------------------------- x

         DEFENDANT PENNSYLVANIA GENERAL INSURANCE COMPANY’S
                         INITIAL DISCLOSURES

        Pursuant to Federal Rules of Civil Procedure 26(a), Defendant Pennsylvania General

Insurance Company, n/k/a Pennsylvania Insurance Company (“PGIC”) hereby serves these

Initial Disclosures to Plaintiff Sparta Insurance Company (“Sparta”). In providing these initial

disclosures, Defendant does not waive any objections, defenses, or applicable privileges.

Defendant reserves the right to amend or supplement these initial disclosures as permitted by

the Federal Rules of Civil Procedure and the Local Rules of this Court.

        Section A identifies those individuals who may have discoverable information relevant to

disputed facts alleged with particularity in the pleadings. Section B describes the documents,

data compilations, and tangible things held by Defendant that may be relevant to disputed facts

alleged with particularity in the pleadings.

        These disclosures do not include the names of any potential experts retained or consulted

by Defendant. Defendant will produce information relating to experts as may be appropriate

under Federal Rule of Civil Procedure 26(a)(2) at the times provided by that Rule or any

supervening order of the Court. In addition, the disclosures do not include names of all current
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or former officers, directors, or employees of Defendant, nor do they include documents

produced by Defendant.

       By making these disclosures, Defendant does not waive its right to object to

discovery of any information described herein on the basis of attorney-client privilege, work

product protection, or any other applicable privilege, law, or rule. Nor does Defendant waive its

right to assert any other objection authorized by the Federal Rules of Civil Procedure or any

other applicable law or rule to any other discovery requests involving or relating to the subject

matter of these disclosures.
       These initial disclosures are made without waiving any right to amend or supplement,

present any evidence or witness at trial, object to any witness or the admissibility of any

evidence, or take discovery in accordance with the Orders of this Court, the Local Rules of this

Court, and the Federal Rules of Civil Procedure.

           A. Rule 26(a)(1)(A)(i) Disclosures — Individuals

       Below is a list of individuals who may have discoverable information relevant to disputed

facts alleged with particularity in the pleadings.




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Name         Organization/Title           Contact Information         Subject Matter
Jeffrey      CEO and General Counsel of   Pennsylvania Insurance      Process of
Silver       Pennsylvania Insurance       Company                     finalizing 2012
             Company                      10805 Old Mill Rd.          Stock Purchase
                                          Omaha, NE 68154             Agreement
                                                                      between NAC
                                                                      and OBIG and
                                                                      subsequent
                                                                      business of
                                                                      Pennsylvania
                                                                      Insurance
                                                                      Company.
Steven M.    President, North American    North American Casualty     Process of
Menzies      Casualty Co. (“NAC”)         Co.                         finalizing 2012
                                          One Applied Parkway         Stock Purchase
                                          Omaha, NE 68144             Agreement
                                                                      between NAC
                                                                      and OBIG and
                                                                      subsequent
                                                                      business of
                                                                      Pennsylvania
                                                                      Insurance
                                                                      Company.
Todd C.      Former Treasurer,            OneBeacon Insurance Group   Process of
Mills        OneBeacon Insurance Group    605 Highway 169 North       finalizing 2012
             (“OBIG”), Pennsylvania       Suite 800                   Stock Purchase
             General Insurance Company    Plymouth, MN 55441          Agreement
             (“PGIC”), and OneBeacon                                  between NAC
             Insurance Company                                        and OBIG and
             (“OBIC”) (2012)                                          2012 Transfer
                                                                      and Assumption
                                                                      between PGIC
                                                                      and OBIC and
                                                                      business of
                                                                      OBIC and its
                                                                      subsidiaries
                                                                      between 2005
                                                                      and the present.
Timothy      Former President and CEO,    OneBeacon Insurance Group   Process of
M. Miller    OBIG (2005-2018)             605 Highway 169 North       finalizing 2012
                                          Suite 800                   Stock Purchase
                                          Plymouth, MN 55441          Agreement
                                                                      between NAC
                                                                      and OBIG, 2012
                                                                      Transfer and
                                                                      Assumption




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                                                                       between PGIC
                                                                       and OBIC, 2007
                                                                       Stock Purchase
                                                                       Agreement
                                                                       between Sparta,
                                                                       PGIC, and
                                                                       OBIG, and 2005
                                                                       Reinsurance
                                                                       Agreement
                                                                       between PGIC
                                                                       and American
                                                                       Employers
                                                                       Insurance
                                                                       Company
                                                                       (“AEIC”) and
                                                                       business of
                                                                       OBIC and its
                                                                       subsidiaries
                                                                       between 2005
                                                                       and 2018.
Roger M.     Former Senior Vice            OneBeacon Insurance Group   Process of
Singer       President, General Counsel,   605 Highway 169 North       finalizing
             and Secretary of OBIG         Suite 800                   Reinsurance
             (1998-2005); member, Board    Plymouth, MN 55441          Agreement
             of Directors of OBIG                                      between PGIC
             (through 2006).                                           and AEIC, and
                                                                       business of
                                                                       OBIC and its
                                                                       subsidiaries
                                                                       during tenure.
Thomas L.    Former General Counsel,       OneBeacon Insurance Group   Process of
Forsyth      OBIG (2005-2007)              605 Highway 169 North       finalizing 2007
                                           Suite 800                   Stock Purchase
                                           Plymouth, MN 55441          Agreement
                                                                       between Sparta,
                                                                       PGIC, and
                                                                       OBIG, and 2005
                                                                       Reinsurance
                                                                       Agreement
                                                                       between PGIC
                                                                       and AEIC, and
                                                                       business of
                                                                       OBIC and its
                                                                       subsidiaries
                                                                       between 2005
                                                                       and 2007.



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Bradford      Former General Counsel,           OneBeacon Insurance Group         Process of
W. Rich       OBIG                              605 Highway 169 North             finalizing 2012
                                                Suite 800                         Stock Purchase
                                                Plymouth, MN 55441                Agreement
                                                                                  between NAC
                                                                                  and OBIG, 2012
                                                                                  Transfer and
                                                                                  Assumption
                                                                                  between PGIC
                                                                                  and OBIC, 2007
                                                                                  Stock Purchase
                                                                                  Agreement
                                                                                  between Sparta,
                                                                                  PGIC, and
                                                                                  OBIG, and 2005
                                                                                  Reinsurance
                                                                                  Agreement
                                                                                  between PGIC
                                                                                  and AEIC.
Jane E.       Former Secretary and              OneBeacon Insurance Group         Process of
Freedman      Associate General Counsel,        605 Highway 169 North             finalizing 2012
              OBIG                              Suite 800                         Stock Purchase
                                                Plymouth, MN 55441                Agreement
                                                                                  between NAC
                                                                                  and OBIG, 2012
                                                                                  Transfer and
                                                                                  Assumption
                                                                                  between PGIC
                                                                                  and OBIC, 2007
                                                                                  Stock Purchase
                                                                                  Agreement
                                                                                  between Sparta,
                                                                                  PGIC, and
                                                                                  OBIG, and 2005
                                                                                  Reinsurance
                                                                                  Agreement
                                                                                  between PGIC
                                                                                  and AEIC.


                B. Rule 26(a)(1)(A)(ii) Disclosures — Documents That May Contain
                   Discoverable Information

            Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(ii) and based on the limited

     information currently known to PGIC about Plaintiff’s claims and other allegations in this action,



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PGIC identifies the following categories of documents that are in PGIC’s custody, or control and

that PGIC at this time reasonably believes it may use to support its defenses:

        1. 2012 Stock Purchase Agreement and Closing Book between NAC and OBIG;

        2. 2012 Transfer & Assumption Agreement between OBIC and PGIC;

        3. 2007 Stock Purchase Agreement between Sparta and PGIC;

        4. 2005 Reinsurance Agreement between PGIC and AEIC;

        5. State and/or federal regulatory documents related to the transactions and/or entities

            identified in Numbers 1-4 above; and
        6. Correspondence from Sparta related to AEIC policies beginning in 2021.

            C. Rule 26(a)(1)(A)(iii) Disclosures — Computation Of Damages

        Not applicable. Plaintiff seeks a declaratory judgment; Defendant contests that Plaintiff

is entitled to costs or fees in pursuing this action.

        Defendant reserves the right to assert any claims against Plaintiff and further reserves the

right to seek costs incurred in defending this matter as permitted by law and will provide

information about such costs at the appropriate time.

            D. Rule 26(a)(1)(A)(iv) Disclosures — Insurance

        At this time, Defendant is not aware of any insurance agreement under which any
insurance business may be liable to satisfy all or part of possible judgment in the action.

Defendant will supplement this response if necessary.

Dated: October 14, 2022                                  Respectfully submitted,

                                                         /s/ Samuel C. Kaplan
                                                         Samuel C. Kaplan (admitted pro hac vice)
                                                         skaplan@bsfllp.com
                                                         BOIES SCHILLER FLEXNER LLP
                                                         1401 New York Avenue, NW
                                                         Washington, DC 20005
                                                         Telephone: (202) 237-2727




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                                    Maxwell V. Pritt (admitted pro hac vice)
                                    mpritt@bsfllp.com
                                    Erika Nyborg-Burch (admitted pro hac vice)
                                    enyborg-burch@bsfllp.com
                                    Mariah J. Noah (admitted pro hac vice)
                                    mnoah@bsfllp.com
                                    BOIES SCHILLER FLEXNER LLP
                                    44 Montgomery Street, 41st Floor
                                    San Francisco, CA 94104
                                    Telephone: (415) 293-6800
                                    John F. Dew (BBO #668467)
                                    jdew@cohenkinne.com
                                    COHEN, KINNE, VALICENTI & COOK
                                    28 North Street, 3rd Floor
                                    Pittsfield, MA 01201
                                    Telephone: (413) 443-9399




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                                CERTIFICATE OF SERVICE

       I, Lorraine France-Gorn, declare:

       I am a citizen of the United States and employed in the City and County of San
Francisco, CA. I am over the age of 18 and not a party to the within action; my business address
is 44 Montgomery Street, 41st Floor, San Francisco, CA 94104.

       On October 14, 2022, I served the following document(s) described as:

       DEFENDANT PENNSYLVANIA GENERAL INSURANCE COMPANY’S
       INITIAL DISCLOSURES

BY ELECTRONIC MAIL TRANSMISSION: By electronic mail transmission from lfrance-
gorn@bsfllp.com, by transmitting a PDF format copy of such document(s) to each such person at
the e-mail address(es) listed below. The document(s) was/were transmitted by electronic
transmission and such transmission was reported as complete and without error.

               James R. Carroll
               Christopher G. Clark
               SKADDEN, ARPS, SLATE,
               MEAGHER & FLOM LLP
               500 Boylston Street
               Boston, Massachusetts 02116
               (617) 573-4800
               james.carroll@skadden.com
               christopher.clark@skadden.com

               Counsel for Plaintiff
               SPARTA Insurance Company

        I declare that I am employed in the office of a member of the bar of this Court at whose
direction the service was made.

       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
       Executed on October 14, 2022, at San Francisco, California.

                                                     /s/ Lorraine France-Gorn
                                                     Lorraine France-Gorn




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